 
    

        
		
        

        
        
        
        
        

        
		
        	
		IN RE RULES OF THE SUPREME COURT OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:IN RE RULES OF THE SUPREME COURT OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				IN RE RULES OF THE SUPREME COURT OF OKLAHOMA ON LICENSED LEGAL INTERNSHIP2020 OK 53Decided: 06/15/2020Case Number: SCBD-2109THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 53, __ P.3d __

				

IN RE: Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship (5 O.S. ch. 1 app. 6)



ORDER



This matter comes on before this Court upon an Application to Amend Rule 7 of the Rules of the Supreme Court of the State of Oklahoma on Licensed Legal Internship (hereinafter "Rules") filed on June 4, 2020. This Court finds that it has jurisdiction over this matter and Rule 7 is hereby amended to add new Rule 7.9 as set out in Exhibit A attached hereto, effective immediately.

DONE IN CONFERENCE this 15th day of JUNE, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR



EXHIBIT "A" 

RULES OF THE SUPREME COURT ON LICENSED LEGAL INTERNSHIP

RULE 7.9 

Representation by the Licensed Legal Intern in administrative hearings is limited in the following manner:

(a) When the supervising attorney represents a party adverse to the state agency, the supervising attorney must be present at all stages of the administrative proceeding.

(b) When the supervising attorney represents the state agency, the Licensed Legal Intern may appear at any stage of the administrative proceeding as authorized by that agency.





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Sec 7.9, Representation In Administrative HearingsCited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
